Case 3:15-cv-01840-FLW-DEA Document 40 Filed 03/18/15 Page 1 of 1 PageID: 177

                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                             Clerk's Office − Trenton, NJ


  ERIN MONTGOMERY, et al.
                                    Plaintiff,
  v.                                              Case No.: 3:15−cv−01840−FLW−DEA
                                                  Judge Freda L. Wolfson
  RIDER UNIVERSITY, et al.
                                    Defenant.

  Dear Matthew S. Blumin:
      Please be advised, our records show that you are not a member of the Federal Bar of
  New Jersey. Therefore, you are responsible for having a member of the Bar of this Court
  file an appearance in accordance with Local Civil Rule 101.1 on behalf of your client.




                                                 Very truly yours,
                                                 William T. Walsh, Clerk
                                                 By Deputy Clerk, mem
